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UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Mag. No. 22-15015
Vv. : Hon. Edward S. Kiel
MANUEL A. QUINONES : CRIMINAL COMPLAINT

I, Special Agent Matthew Wisdom, being duly sworn, state the following is
true and correct to the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that I am a Special Agent with the United States Drug
Enforcement Administration, and that this complaint is based on the following
facts:

SEE ATTACHMENT B

Continued on the attached page and made a part hereof:

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Matthew Wisdom
Special Agent
Drug Enforcement Administration

Special Agent Matthew Wisdom attested to this Complaint by telephone
pursuant to Fed. R. Crim. P. 4.1(b)(2)(A), on February 1, 2022.

HONORABLE EDWARD S. KIEL Ey ploowel 5. Kael

UNITED STATES MAGISTRATE JUDGE Signature of Judicial Officer -

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ATTACHMENT A

COUNT ONE
(Possession with Intent to Distribute Fentanyl and Methamphetamine)

On or about January 31, 2022, in the District of New Jersey and
elsewhere, the defendant,

MANUEL A. QUINONES,

did knowingly and intentionally possess with intent to distribute 400 grams or
more of a mixture and substance containing a detectable amount of fentanyl, a
Schedule II controlled substance, and 500 grams or more of a mixture and
substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(A).
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COUNT TWO
(Possession of Ammunition by a Convicted Felon) ©

On or about January 31, 2022, in Camden County, in the District of New
Jersey and elsewhere, the defendant,

MANUEL A. QUINONES,
knowing that he had previously been convicted in a court of at least one crime
punishable by a term of imprisonment exceeding one year, did knowingly

possess in and affecting commerce rounds of Blazer 9mm ammunition.

In violation of Title 18, United States Code, Section 922(g)(1).
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COUNT THREE
(Possession of Firearms in Furtherance of a Drug Trafficking Crime)

On or about January 31, 2022, in the District of New Jersey and
elsewhere, the defendant,

MANUEL A. QUINONES,

in furtherance of a drug trafficking crime for which the defendant may be
prosecuted in a court of the United States, namely, possession with intent to
distribute 400 grams or more of a mixture and substance containing a detectable
amount of fentanyl and 500 grams or more of a mixture and substance
containing a detectable amount of methamphetamine, as charged in Count One
of this Complaint, did knowingly possess two firearms.

In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).
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ATTACHMENT B

. I, Matthew Wisdom, am a Special Agent with the United States Drug
Enforcement Administration (“DEA”). I am fully familiar with the facts set forth
herein based on my own investigation, my conversations with other law
enforcement officers and cooperating sources, and my review of reports,
documents, and other items of evidence. Because this Complaint is being
submitted for a limited purpose, I have not set forth each and every fact that I
know concerning this investigation. Where statements of others are related
herein, they are related in substance and part. Where I assert that an event took
place on a particular date, I am asserting that it took place on or about the date
alleged.

1. Law enforcement has been investigating a drug trafficking
organization (“DTO”) operating in the District of New Jersey and elsewhere.
Based on the investigation, law enforcement learned that on or about January
31, 2022, defendant Manuel A. Quinones (“Quinones”) was in possession of
narcotics in a parking lot in or around East Brunswick, New Jersey (the “Parking
Lot”).

2. Subsequently, law enforcement located Quinones, who was driving
a white Acura (the “Acura”), in the Parking Lot. When law enforcement
approached the Acura, Quinones attempted to drive away and almost rammed a
law enforcement vehicle. Law enforcement eventually detained Quinones.

3. Thereafter, law. enforcement introduced a _ narcotics-detecting
canine to the Acura, which positively alerted to the presence of narcotics within
the Acura. Law enforcement then searched the Acura, which contained
approximately 1,000 suspected fentanyl pills and approximately seven pounds
of suspected crystal methamphetamine. Law enforcement later field tested a
sample of the suspected crystal methamphetamine, which field tested
presumptively positive for the presence of methamphetamine.

4. Law enforcement subsequently conducted a lawful search of
Quinones’ Pennsauken, New Jersey residence (the “Residence”), which was listed
as Quinones’ address on his driver’s license. Among other things, law
enforcement - recovered approximately 2,000 suspected fentanyl pills,
approximately 300 grams of suspected fentanyl powder, approximately one
pound of suspected crystal methamphetamine, and approximately ten pounds
of suspected marijuana.

5. In addition, inside the Residence, law enforcement recovered two
firearms—a loaded .25 caliber Raven Arms pistol bearing serial number 470231
(the “Loaded Pistol”) and a .357 Smith and Wesson revolver bearing serial
number N93533 (the “Revolver”)—as well as at least 41 rounds of Blazer 9mm
ammunition (the “Ammunition”), a drum magazine, capable of holding

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approximately 40 rounds of 9mm ammunition, and a bulletproof vest. Notably,
the Loaded Pistol was found in the same closet as approximately one pound of
suspected crystal methamphetamine, and the Revolver was found in the attic in
proximity to approximately ten pounds of marijuana and the bulletproof vest.

6. Prior to knowingly possessing the Ammunition on or about January
31, 2022, Quinones knew that he was a convicted felon, as he had at least one
felony conviction, including a conviction on or about July 13, 1998, in Camden
County Superior Court, for violation of N.J.S.A. § 2C:35-7, a crime punishable
for a term exceeding one year, and for which he was sentenced to five years’
imprisonment, and a conviction on or about June 6, 1995, in Camden County
Superior Court, for violation of N.J.S.A. § 2C:20-7, a crime punishable for a term
exceeding one year, and for which he was sentenced to four years’ imprisonment.

7. The investigation has shown that the Ammunition was
manufactured outside the State of New Jersey and thus necessarily had to travel
in interstate commerce prior to Quinones’ possession of the ammunition in New
Jersey on or about January 31, 2022.

8. Based on the investigation, the Revolver and the Loaded Pistol
. appear capable of, and designed to, expel projectiles such that they each meet
the definition of a firearm under federal law.
